                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

                                                    :       CIVIL ACTION
MARY McGALLOWAY, Individually and on                :
Behalf of All Others Similarly Situated,            :
                                                    :
                               Plaintiff,           :
                                                    :
          v.                                        :       NO. 2:20-CV-01740-SCD
                                                    :
DEBT RESOLUTION DIRECT LLC d/b/a                    :
DEBT ADVISORS OF AMERICA,                           :
REDSTONE PRINT & MAILING, INC., and                 :
THE DATA SUITE, INC.,                               :       JURY TRIAL DEMANDED
                                                    :
                               Defendants.          :
                                                    :


    DEFENDANT DEBT RESOLUTION DIRECT, LLC d/b/a DEBT ADVISORS OF
    AMERICA’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR
           SANCTIONS PURSUANT TO FEDERAL RULE OF CIVIL
                  PROCEDURE 11 AND 28 U.S.C. § 1927

          Defendant, Debt Resolution Direct, LLC d/b/a Debt Advisors of America (“Defendant” or

“DRD”), by and through its undersigned counsel, respectfully moves this Court for an Order,

pursuant to Federal Rule of Civil Procedure 11 and 28 U.S.C. § 1927, awarding Defendant

sanctions against Plaintiff, Mary McGalloway (“Plaintiff”), Ben James Slatky, Esquire, Jesse

Fruchter, Esquire, and John D. Blythin, Esquire (collectively “Plaintiff’s Counsel”), and Ademi

LLP (“Plaintiff’s Law Firm”), for continuing to prosecute a frivolous action against Defendant for

alleged violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA”) and the

Wisconsin Consumer Act, Ch. 421-427, Wis. Stats., on which Plaintiff cannot prevail as a matter

of law.

          Pursuant to Fed. R. Civ. P. 11(c)(2), Defendant served its Motion for Sanctions on

Plaintiff’s Counsel, and Plaintiff’s Law Firm on June 22, 2022, which is more than twenty-one


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days from the date of filing of this Motion. (See Declaration of Richard J. Perr (“Perr Decl.”) ¶ 2,

Exhibit 1). At the time of this filing, Plaintiff’s Second Amended Complaint has not been

dismissed.    Accordingly, Plaintiff, Plaintiff’s Counsel, and Plaintiff’s Law Firm must be

sanctioned.




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I.         INTRODUCTION

           Plaintiff filed claims against DRD under the Fair Credit Reporting Act, 15 U.S.C. § 1681,

et seq. (“FCRA”) and the Wisconsin Consumer Act, Ch. 421-427. (Doc. 37). Plaintiff, Plaintiff’s

Counsel, and Plaintiff’s Law Firm assert these claims with no basis in fact from which to allege

that DRD violated the law. Further, Plaintiff and her attorneys have continued to abuse the legal

process and waste this Court’s, as well as Defendant’s, time and resources to continue the

prosecution of this Action. Not only did Plaintiff’s lawsuit have no basis in its beginning, Plaintiff

continues to assert her claims and extending this case after extensive discovery has revealed that

there remains no colorable claim to pursue. Such egregious conduct is exactly the sort of conduct

that Rule 11 was designed to deter. Plaintiff, Plaintiff’s Counsel, and Plaintiff’s Law Firm must

be sanctioned.


II.        FACTUAL BACKGROUND AND PROCEDURAL HISTORY

      A.      Plaintiff’s Claims

           Plaintiff received a letter from DRD dated July 30, 2020 (“the Letter”). (Doc. 37 at ¶¶ 24,

28; Doc. 16-1). The Letter provided a phone number and invited Plaintiff to call regarding a

referral to debt relief services companies. (Doc. 37 at ¶ 26; Doc. 16-1). The Letter then provided

an example scenario:




(Doc. 37 at ¶ 27; Doc. 16-1). The Letter also contained the following disclaimer:

                                                   1

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(Doc. 16-1).

       On January 19, 2022, Plaintiff filed her Second Amended Class Action Complaint. (Doc.

37). Plaintiff filed claims against DRD under the Fair Credit Reporting Act, 15 U.S.C. § 1681, et

seq. (“FCRA”) and the Wisconsin Consumer Act, Ch. 421-427. (Doc. 37). Plaintiff alleges that

DRD and Redstone sent her the Letter “because her name and address were included on a list of

consumers provided for sale to Redstone by TDS, who in turn contracts with DRD to send letters

in the form of Exhibit A on behalf of DRD based on an order from DRD to send such letters to

consumers within a particular geographic area whose credit history meet certain criteria, including,

but not limited to consumers who: (i) have an estimated debt in excess of a certain threshold, and

(ii) have made minimum payments on credit accounts for several months but the balance of those

accounts was not decreasing because of the accrual of interest at high rates.” (Doc. 37 at ¶ 28).

Plaintiff alleges that “[i]nformation about Plaintiff’s credit history is not public information and

Plaintiff did not authorize Defendants to obtain her credit history.” (Doc. 37 at ¶ 29). Plaintiff

also alleges that her “name and address appeared on a ‘pre-screened list’ that included similarly

situated consumers within a particular geographic area and whose credit history met certain

criteria.’” (Doc. 37 at ¶ 30).

       Plaintiff alleges that the FCRA authorizes the sale and use of credit information to

to obtain credit reports only in connection with firm offers of credit or insurance,” and that the

Letter was not a firm offer. (Doc. 37 at ¶¶ 31-35). Plaintiff asserts that DRD willfully obtained

and used a consumer report from TDS regarding Plaintiff under false pretenses and without a


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permissible purpose in violation of the FCRA, 15 U.S.C. §§ 1681b, 1681e, and 1681q. (Doc. 37

at ¶¶ 36-37, 68-70).

         Plaintiff also alleges that DRD was not licensed as an Adjustment Services Company by

the Wisconsin Department of Financial Institutions (“DFI”) and has not registered as a Credit

Services Organization with the DFI in violation of Wis. Stat. § 422.502(1). (Doc. 37 at ¶¶ 38, 44-

47, 65, 72-77).

         Plaintiff has admitted that she did not have any credit reports that she obtained from

TransUnion, Equifax, Experian, or any other credit reporting agency since July 30, 2020 that she

believed reflected any credit inquiry by DRD or anyone on its behalf regarding Plaintiff. (See Perr

Decl., ¶ 3, Exhibit 2, No. 6). Plaintiff did not produce any credit reports in discovery this case.

(See id., ¶ 4, Exhibit 3). Plaintiff has admitted that she has not obtained a copy of her credit report.

(Id., ¶ 5, attached as Exhibit 4. No. 22). If Plaintiff never obtained or viewed or credit report, then

it is clear she had no factual basis at all to file a lawsuit against DRD. If she never saw a credit

report, she could not see that her credit was pulled. Her claims therefore had no reasonable basis

in fact, and the conduct of Plaintiff and Plaintiff’s Counsel and Plaintiff’s Law Firm for the

initiation of suit should be sanctioned.

         Even if there were a reasonable basis in fact in Plaintiff’s filing of her original Complaint

and subsequent Amended Complaints, extensive discovery in this case has further revealed not

only that Plaintiff never accessed her credit report, but that DRD and its associated vendors do not

access credit reports as part of its business operation.

    B.      DRD Does Not Obtain any Credit Reports

         DRD is a company that seeks to generate referrals of consumers to third parties who offer

debt relief services by using direct mail. (Id., ¶ 6, Exhibit 5 at ¶ 5). DRD does not assemble or


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evaluate consumer credit information or other information on consumers for the purpose of

furnishing consumers reports to third parties. (See id., ¶ 6, Exhibit 5 at ¶ 7).

        DRD is not a Consumer Reporting Agency. (See id., ¶ 6, Exhibit 5 at ¶ 6). DRD does not

enter into any credit transactions with individuals or businesses. (See id., ¶ 6, Exhibit 5 at ¶ 8).

DRD does not extend credit to any individuals or businesses. (See id., ¶ 6, Exhibit 5 at ¶ 9). DRD

does not use any consumer data it obtains for employment purposes. (See id., ¶ 6, Exhibit 5 at ¶

10). DRD does not use any data it obtains to determine an individual’s eligibility for a license or

other benefit granted by a governmental instrumentality required by law to consider an applicant’s

financial responsibility or status. (See id., ¶ 6, Exhibit 5 at ¶ 12).

        DRD does not use any data it obtains, as a potential investor or servicer, or current insurer,

in connection with a valuation of, or an assessment of the credit or prepayment risks associated

with, an existing credit obligation. (See id., ¶ 6, Exhibit 5 at ¶ 13). DRD does not use any data it

obtains in connection with a business transaction that is initiated by an individual or to review an

account to determine whether an individual continues to meet the terms of the account. (See id., ¶

6, Exhibit 5 at ¶ 14).

         DRD engages Redstone Print & Mail, Inc., (“Redstone”) for the purpose of compiling

marketing letters to be sent to individuals regarding debt relief services provided by DRD’s clients.

(See id., ¶ 6, Exhibit 5 at ¶ 16). Redstone designs, prints, and mails DRD’s marketing letters. (See

id., ¶ 6, Exhibit 5 at ¶ 16). In 2020, DRD asked Redstone to obtain a prospect list of certain

individuals’ names and addresses for the purpose of DRD’s marketing efforts. (See id., ¶ 6, Exhibit

5 at ¶ 20). DRD never requires that Redstone utilize a consumer report, a credit report, or a “pre-

screened list” in connection with obtaining a prospect list for DRD. (See id., ¶ 6, Exhibit 5 at ¶ 19).




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           It is DRD’s understanding that Redstone asks a company called The Data Suite (“TDS”)

to compile prospect lists for DRD. (See id., ¶ 6, Exhibit 5 at ¶ 17). It is DRD’s understanding

that Redstone only utilizes TDS for compiling prospect lists. (See id., ¶ 6, Exhibit 5 at ¶ 17). None

of the information upon which the prospect lists DRD purchases from Redstone, including the list

that contained Plaintiff’s information, is taken from any credit report or is based on any data

contained in a credit report. (See Perr Decl., ¶ 7, Exhibit 6 at ¶¶ 21-25). The consumer data was

pulled from data from public sources. (See id., ¶ 7, Exhibit 6 at ¶ 22). These include, for example,

obtaining information related to mortgages, demographic information, and information from

surveys completed by consumers. (See id., ¶ 7, Exhibit 6 at ¶ 22). The prospect lists are not

compiled using any credit reports or information pulled from credit reports. (See id., ¶ 7, Exhibit

6 at ¶ 25). TDS never pulled or accessed Plaintiff’s credit report or credit history, nor did it nor

has it ever provided any sensitive credit data of any individual to DRD (or to Redstone on behalf

of DRD), such as a “prescreened” list. (See id., ¶ 7, Exhibit 6 at ¶ 25; ¶ 6, Exhibit 5 at ¶¶ 18-19).

           Plaintiff’s claims are completely frivolous, and this Court should deter Plaintiff, Plaintiff’s

Counsel, and Plaintiff’s Law Firm from pursuing this harassing litigation further. As such,

sanctions are warranted at this time pursuant to Fed. R. Civ. P. 11(b) and 28 U.S.C. § 1927.


II.        LEGAL ARGUMENT

      A.          Standard for Sanctions

           Fed. R. Civ. P. 11(b) provides as follows:

           Representations to Court. By presenting to the court a pleading, written motion, or
           other paper – whether by signing, filing, submitting, or later advocating it – an
           attorney or unrepresented party certifies that to the best of the person’s knowledge,
           information, and belief, formed after an inquiry reasonable under the
           circumstances:

           (1)    it is not being presented for any improper purpose, such as to harass,
                  cause unnecessary delay, or needlessly increase the cost of litigation;
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         (2)    the claims, defenses, and other legal contentions are warranted by
                existing law or by a nonfrivolous argument for extending, modifying, or
                reversing existing law or for establishing new law;

         (3)    the factual contentions have evidentiary support or, if specifically so
                identified, will likely have evidentiary support after a reasonable
                opportunity for further investigation or discovery; and

         (4)    the denials of factual contentions are warranted on the evidence or, if
                specifically so identified, are reasonably based on belief or a lack of
                information.

Fed. R. Civ. P. 11(b) (emphasis added).

         “The central goal of Rule 11 is to deter abusive litigation practices.” Puncochar v. Revenue

Mgmt. of Illinois Corp., No. 15-CV-07089, 2017 WL 1208426, at *2 (N.D. Ill. Mar. 31, 2017)

(quoting Corley v. Rosewood Care Ctr., Inc. of Peoria, 388 F.3d 990, 1013 (7th Cir. 2004)).

“Specifically, Rule 11 requires that an attorney and/or party certify to the best of their ‘knowledge,

information, and belief, formed after an inquiry reasonable under the circumstances’ that any

pleading or motion presented to the court is not being presented for an improper purpose and that

the allegations and other factual contentions have a legally sufficient basis to support the claim”

Fries v. Helsper, 146 F.3d 452, 458 (7th Cir.1998). “When the certification is shown to be false,

Rule 11(c) permits the imposition of monetary sanctions.” Dr. R.C. Samanta Roy Inst. of Sci. &

Tech., Inc. v. Lee Enterprises, Inc., No. 05 C 0423, 2006 WL 3692361, at *2 (E.D. Wis. Aug. 2,

2006).

         The Seventh Circuit has set forth the following Rule 11(b) criteria: “[t]here must be

‘reasonable inquiry’ into both fact and law; there must be good faith (that is, the paper may not be

interposed ‘to harass’); the legal theory must be objectively ‘warranted by existing law or a good

faith argument’ for the modification of existing law; and the lawyer must believe that the complaint

is ‘well-grounded in fact.’” Goldfinger v. J. Commc’ns Inc., No. 15-C-12, 2015 WL 13034986, at

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*2 (E.D. Wis. Aug. 4, 2015) (quoting Szabo Food Serv., Inc. v. Canteen Corp., 823 F.2d 1073,

1080 (7th Cir. 1987)).

       “Rule 11 is violated when a party or party’s counsel signs a paper that, ‘after reasonable

inquiry, is not well grounded in fact and is not warranted by existing law or a good faith argument

for the extension, modification, or reversal of existing law.’” In re Meier, 223 F.R.D. 514, 517–

18 (W.D. Wis. 2004) (quoting Burda v. M. Ecker Co., 2 F.3d 769, 773–74 (7th Cir. 1993)). “To

find a Rule 11 violation, a court must make an objective inquiry to determine whether the petitioner

‘should have [known] that his position is groundless.’”         Id. (quoting Chicago Newspaper

Publishers’ Ass’n v. Chicago Web Printing Pressmen’s Union No. 7, 821 F.2d 390, 397 (7th Cir.

1987)). “The inquiry under Rule 11 is objective; there is no need to find that the petitioner acted

in bad faith.” Id. (quoting National Wrecking Co. v. International Broth. of Teamsters, Local 731,

990 F.2d 957, 963 (7th Cir. 1993)).

       “Rule 11 subjects a party to potential sanctions if the party continues to insist upon a

position or argument after it is ‘no longer tenable.’” Id. (citing Fed. R. Civ. P. 11 and 1993

Amendment Advisory Committees Note). Even if a pleading complies with Rule 11 when it is

initially signed, information that subsequently comes to the attention of counsel may demonstrate

that a claim or contention is no longer viable. Turner v. Sungard Business Systems, Inc., 91 F.3d

1418, 1421 (11th Cir. 1996).

       Title 28 U.S.C § 1927 provides:

               Any attorney or other person admitted to conduct cases in any court of the
               United States or any Territory thereof who so multiplies the proceedings
               in any case unreasonably and vexatiously may be required by the court
               to satisfy personally the excess costs, expenses, and attorneys’ fees
               reasonably incurred because of such conduct.

28 U.S.C. § 1927 (emphasis added).



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        Under 28 U.S.C. § 1927, an attorney who “so multiplies the proceedings in any case

unreasonably and vexatiously may be required by the court to satisfy personally the excess costs,

expenses, and attorneys’ fees reasonably incurred because of such conduct.” “As with a Rule 11

sanction, district courts have broad discretion in deciding upon a sanction award under § 1927.”

In re Meier, 223 F.R.D. at 520 (citing Kotsilieris v. Chalmers, 966 F.2d 1181, 1187–88 (7th

Cir.1992) (applying Rule 11 standard to § 1927 sanction)). “Under Rule 11, sanctions are imposed

in proportion to the egregiousness of the act.” Id. This same principle also applies to sanctions

under § 1927.” Id. Fees may be assessed without a finding of bad faith, “at least when an attorney

knows or reasonably should know that a claim pursued is frivolous, or that his or her litigation

tactics will needlessly obstruct the litigation of nonfrivolous claims[.]” Jones v. Continental Corp.,

789 F.2d 1225, 1230 (6th Cir. 1986).

        An award of expenses under Section 1927 is proper “when the attorney’s actions are so

completely without merit as to require the conclusion that they must have been undertaken for

some improper purpose such as delay.” Oliveri v. Thompson, 803 F.2d 1265, 1273-74 (2d Cir.

1986). Sanctions are to be imposed when, from an objective standpoint, counsel’s conduct has

multiplied proceedings and in doing so, has been unreasonable and vexatious, in a sense of being

harassing or annoying. Cruz v. Savage, 896 F.2d 626, 631 (1st Cir. 1990).

   B.      Plaintiff’s FCRA Claims are Frivolous.

           1.      Legal Standard – A Consumer Report Must Have Been Pulled for a
                   Claim under Section 1681(b)

        Congress enacted the FCRA “to ensure fair and accurate credit reporting, promote

efficiency in the banking system, and protect consumer privacy.” Safeco Ins. Co. of Am. v. Burr,

551 U.S. 47, 52 (2007); see also 15 U.S.C. § 1681(b). The Act provides that a “person shall not

use or obtain a consumer report for any purpose unless . . . the consumer report is obtained for a

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purpose for which the consumer report is authorized to be furnished under this section.” Billups

v. PHH Mortg. Corp., No. 19 C 7873, 2021 WL 1648114, at *2 (N.D. Ill. Apr. 27, 2021) (emphasis

added); see 15 U.S.C. § 1681b(f)(1). The FCRA defines a “consumer report” as follows:

               (1) In general
               The term ‘consumer report’ means any written, oral, or other
               communication of any information by a consumer reporting agency
               bearing on a consumer’s credit worthiness, credit standing, credit
               capacity, character, general reputation, personal characteristics, or
               mode of living which is used or expected to be used or collected in
               whole or in part for the purpose of serving as a factor in establishing
               the consumer's eligibility for—

               (A) credit or insurance to be used primarily for personal, family, or
               household purposes;
               (B) employment purposes; or
               (C) any other purpose authorized under section 1681b of this title.

15 U.S.C. § 1681a(d).

       “Section 1681b(a) authorizes credit agencies to furnish credit reports for certain

specifically enumerated purposes – and only those purposes.” Rogers v. Wells Fargo Bank, N.A.,

2020 WL 1081721, at *3 (N.D. Ill. 2020) (emphasis added). Courts have consistently held that

the elements of a claim under 15 U.S.C. § 1681b(f) include the following: (1) “there was a

consumer report; (2) obtained or used by the defendant; (3) without a permissible purpose as

defined in § 1681b(a)(1)-(6); and (4) the defendant acted with the specified mental state.” Alston

v. Freedom Plus/Cross River, No. CV TDC-17-0033, 2018 WL 770384, at *4 (D. Md. Feb. 7,

2018) (emphasis added); see also Wyche v. Kuchinsky, 3:16-cv-114, 2017 WL 2222376, at *7

(E.D. Va. May 19, 2017); Cole v. Capital One, 15-1121, 2016 WL 2621950, at *4 (D. Md. May

5, 2016); Glanton v. DirecTV, LLC, 172 F.Supp.3d 890, 894 (D.S.C. 2016); Perrill v. Equifax Info.

Servs., LLC, 205 F. Supp. 3d 869, 876 (W.D. Tex. 2016).




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             2.      A CRA Must Maintain Reasonable Procedures to Limit the Furnishing of
                     Reports

       Section 1681e of the FCRA requires that consumer reporting agencies (“CRAs”) maintain

“reasonable procedures designed to . . . limit the furnishing of consumer reports to the purposes

listed under section 1681b of this title.” 15 U.S.C. § 1681e(a). These procedures require the

following:

                  [p]rospective users of the information identify themselves, certify
                  the purposes for which the information is sought, and certify that the
                  information will be used for no other purpose. Every consumer
                  reporting agency shall make a reasonable effort to verify the identity
                  of a new prospective user and the uses certified by such prospective
                  user prior to furnishing such user a consumer report. No consumer
                  reporting agency may furnish a consumer report to any person if it
                  has reasonable grounds for believing that the consumer report will
                  not be used for a purpose listed in section 1681b of this title.

Id. In order to show that a defendant violated the “reasonable procedures” requirement of Section

1681e(a), a consumer “‘must first show that the reporting agency released the report in violation

of § 1681b.’” Wyche, 2017 WL 2222376, at *6 (quoting Alston v. Branch Banking & Trust Co.,

No. 15–3100, 2016 WL 4521651, at *8 (D. Md. Aug. 26, 2016)); see Aleksic v. Experian Info.

Solutions, Inc., No. 13 C 7802, 2014 WL 2769122, at *1 (N.D. Ill. June 18, 2014) (stating

requirements under Section 1681e(a)).

             3.      DRD Did Not Violate Wisconsin Law

       DRD is not an Adjustment Service Company nor a Credit Services Organization under

the Wisconsin Consumer Act, and therefore is not required to be licensed or registered as such.

Wis. Stat. Ann. § 218.02; Wis. Stat. Ann. § 422.501.

       An Adjustment Services Company is defined as a company that is “engaged as principal

in the business of prorating the income of a debtor to the debtor’s creditor or creditors, or of

assuming the obligations of any debtor by purchasing the accounts the debtor may have with the

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debtor’s several creditors, in return for which the principal receives a service charge or other

consideration.” Wis. Stat. Ann. § 218.02.      A “Credit services organization” means a person or

merchant who, with respect to the extension of credit by others, sells, provides or performs, or

represents that the person will sell, provide or perform, any of the following services in return for

the payment of money or for other valuable consideration: (1) improving a buyer’s credit record,

credit history or credit rating; (2) arranging for or obtaining an extension of credit for a buyer; or

(3) providing advice or assistance to a buyer with regard to subsections 1 or 2. Wis. Stat. Ann. §

422.501. DRD has stated in discovery that it engages in none of the aforementioned conduct.

       DRD is a company that seeks to generate referrals of consumers to third parties who offer

debt relief services by using direct mail. (See Perr Decl., ¶ 6, Exhibit 5 at ¶ 5). DRD does not

assemble or evaluate consumer credit information or other information on consumers for the

purpose of furnishing consumers reports to third parties. (See id., ¶ 6, Exhibit 5 at ¶ 7). DRD does

not use any data it obtains to determine an individual’s eligibility for a license or other benefit

granted by a governmental instrumentality required by law to consider an applicant’s financial

responsibility or status. (See id., ¶ 6, Exhibit 5 at ¶ 12). DRD does not use any data it obtains, as

a potential investor or servicer, or current insurer, in connection with a valuation of, or an

assessment of the credit or prepayment risks associated with, an existing credit obligation. (See

id., ¶ 6, Exhibit 5 at ¶ 13). DRD does not use any data it obtains in connection with a business

transaction that is initiated by an individual or to review an account to determine whether an

individual continues to meet the terms of the account. (See id., ¶ 6, Exhibit 5 at ¶ 14). Therefore,

DRD is not required to be licensed or registered under the Wisconsin Consumer Act.

           4.      Plaintiff Filed her Claim without Evidence to Support her Claims




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       Plaintiff does not have any evidence other than speculation that DRD obtained Plaintiff’s

credit history. Plaintiff is required under Section 1681b(f) to show that DRD obtained or accessed

her credit history. 15 U.S.C. § 1681b(f); Alston, 2018 WL 770384; Wyche, 2017 WL 2222376, at

*7; Cole, 2016 WL 2621950; Glanton, 172 F.Supp.3d at 894; Perrill, 205 F. Supp. 3d at 876. If

DRD did obtain or access her credit, this would be notated on the credit report as an inquiry.

Plaintiff has absolutely failed to produce a copy of her credit report and has admitted that she has

never even seen or obtained a copy of her credit report. (See Perr Decl., ¶¶ 3-4. Exhibits 2-3).

Without her credit report, there is zero evidence to support Plaintiff’s frivolous claim that DRD

actually accessed or obtained her credit history. (See id., ¶¶ 3-4, Exhibits 2-3). Simply, Plaintiff,

Plaintiff’s Counsel, and Plaintiff’s Law Firm filed a claim without any basis in fact when such

evidence was readily obtainable and so central to her case. The filing of this lawsuit by her, and

her attorneys without obtaining or reviewing her actual credit report was without reasonable basis

and should be sanctioned by this Court.

           5.      Plaintiff Continues to Prosecute her Claim Despite Producing or Finding
                   No Evidence to Support her Claims

       Even if there was a reasonable basis for Plaintiff’s claims, Plaintiff’s continued prosecution

of her claim under Section 1681b is frivolous as there is no evidence that shows DRD pulled her

credit history. Such conduct is so egregious so as to compel this Court to issues sanctions against

Plaintiff, Plaintiff’s Counsel, and Plaintiff’s Law Firm.      Defendant’s Discovery Responses,

Plaintiff’s Discovery Responses, and two declarations have supported the present facts that DRD

did not pull Plaintiff’s credit history. DRD does not assemble or evaluate consumer credit

information or other information on consumers for the purpose of furnishing consumer reports to

third parties. (Id., ¶ 6, Exhibit 5 at ¶ 7). DRD is not a Consumer Reporting Agency. (See id., ¶ 6,

Exhibit 5 at ¶ 6). DRD does not enter into any credit transactions with individuals or businesses.

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(See id., ¶ 6, Exhibit 5 at ¶ 8). DRD does not extend credit to any individuals or businesses. (See

id., ¶ 6, Exhibit 5 at ¶ 9). DRD does not use any consumer data it obtains for employment purposes.

(See id., ¶ 6, Exhibit 5 at ¶ 10). DRD does not use any data it obtains to determine an individual’s

eligibility for a license or other benefit granted by a governmental instrumentality required by law

to consider an applicant’s financial responsibility or status. (See id., ¶ 6, Exhibit 5 at ¶ 12).

        It is DRD’s understanding that Redstone asks a company called The Data Suite (“TDS”)

to compile prospect lists for DRD. (See id., ¶ 6, Exhibit 5 at ¶ 17). It is DRD’s understanding that

Redstone only utilizes TDS for compiling prospect lists. (See id., ¶ 6, Exhibit 5 at ¶ 17). It is

DRD’s understanding that TDS does not compile any prospect list for DRD using any, credit

reports, “pre-screened list,” or information pulled from consumer reports or credit reports. (See

id., ¶ 6, Exhibit 5 at ¶ 18). DRD has never asked Redstone, TDS or any other entity to pull any

consumer report, credit report, or “pre-screened list” in connection with obtaining a prospect list.

(See id., ¶ 6, Exhibit 5 at ¶ 18). DRD never requires that Redstone utilize a consumer report, a

credit report, or a “pre-screened list” in connection with obtaining a prospect list for DRD. (See

id., ¶ 6, Exhibit 5 at ¶ 19). DRD never pulled or accessed Plaintiff’s credit report or credit history

(See id., ¶ 6, Exhibit 5 at ¶ 22).

        TDS only pulled consumer data from public sources, including obtaining information

related to mortgages, demographic information, and information from surveys completed by

consumers. (See id., ¶ 7, Exhibit 6 at ¶ 22). TDS provided Redstone a list of individuals who

might be active credit card users and could be assumed to carry debt for the purposes of DRD’s

marketing efforts. (See id., ¶ 7, Exhibit 6 at ¶ 20). This includes the list that DRD obtained which

had Plaintiff’s information. (See id., ¶ 7, Exhibit 6 at ¶¶ 21-25). TDS never pulled or accessed

Plaintiff’s credit report or credit history, nor did it nor has it ever provided any sensitive credit data



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of any individual to DRD (or to Redstone on behalf of DRD), such as a “prescreened” list. (See

id., ¶ 7, Exhibit 6 at ¶ 25; ¶ 6, Exhibit 5 at ¶¶ 18-19). There can be no violation of Section 1681b

or Section 1681e if Defendant never obtained or accessed Plaintiff’s credit report. Plaintiff,

Plaintiff’s Counsel, and Plaintiff’s Law Firm had no factual basis to file this claim, and after

extensive investigation and more than a reasonable opportunity to take discovery continue to

prosecute this claim. Continuing to do so without any basis in fact is behavior Rule 11 was

designed to deter, and the Court should impose the sanctions sufficient to deter this conduct.



III.   CONCLUSION

       For the foregoing reasons, Defendant Debt Resolution Direct, LLC d/b/a Debt Advisors of

America respectfully moves this Court to impose monetary sanctions against Plaintiff, Mary

McGalloway, Plaintiff’s Counsel, and Plaintiff’s Law Firm pursuant to Fed. R. Civ. P. 11(b) and

28 U.S.C. § 1927, including awarding Defendant its attorney’s fees and costs incurred in defending

against Plaintiff’s claims.

                                              Respectfully Submitted:

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Dated: August 4, 2022



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                                 CERTIFICATE OF SERVICE

         I, RICHARD J. PERR, ESQUIRE hereby certify that on this date I served a true and correct

copy of the foregoing via CM/ECF on the following:


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                                             _/s/ Richard J. Perr________
                                             RICHARD J. PERR, ESQUIRE

Dated: August 4, 2022




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